                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                          Sam M. Gibbons U.S. Courthouse
                                                Office of the Clerk
                                             801 North Florida Avenue
                                                 Tampa, FL 33602
                                                  (813) 301-5400
                                              www.flmd.uscourts.gov
Elizabeth M. Warren                                                                               Kristin Esposito
Clerk of Court                                                                             Tampa Division Manager

DATE: January 31, 2023

TO:    Clerk, U.S. Court of Appeals for the Eleventh Circuit

THOMAS J. NESTOR,

       Plaintiff,

v.                                                              Case No: 8:20-cv-265-CEH-TGW

JACK DAY,

       Defendant.


U.S.C.A. Case No.:             UNKNOWN

Enclosed are documents and information relating to an appeal in the above-referenced action. Please
acknowledge receipt on the enclosed copy of this letter.

•      Honorable Thomas G. Wilson, United States Magistrate Judge appealed from.

•      Appeal filing fee was not paid. Upon filing a notice of appeal, the appellant must pay the district clerk
       all required fees. The district clerk receives the appellate docket fee on behalf of the court of appeals. If
       you are filing informa pauperis, a request for leave to appeal in forma pauperis needs to be filed with the
       district court.

•      Certified copy of Notice of Appeal, docket entries, judgment and/or Order appealed from. Opinion was
       not entered orally.

•      No hearing from which a transcript could be made.


                                               ELIZABETH M. WARREN, CLERK

                                               By:     s/MB, Deputy Clerk
                                                                                          APPEAL, CLOSED
                            U.S. District Court
                     Middle District of Florida (Tampa)
            CIVIL DOCKET FOR CASE #: 8:20−cv−00265−CEH−TGW

Nestor v. VPC3 II, LLP et al                                     Date Filed: 02/03/2020
Assigned to: Judge Charlene Edwards Honeywell                    Date Terminated: 08/16/2021
Referred to: Magistrate Judge Thomas G. Wilson                   Jury Demand: Plaintiff
Cause: 42:1983 Civil Rights Act                                  Nature of Suit: 440 Civil Rights: Other
                                                                 Jurisdiction: Federal Question
Plaintiff
Thomas J. Nestor                                 represented by Ralph Strzalkowski
                                                                FLORIDA RIGHTS LAW FIRM
                                                                320 SE 3RD ST., A17
                                                                GAINESVILLE, FL 32601
                                                                352−262−9593
                                                                Email: rs@lawyeronwheels.org
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Amber Christal Robinson
                                                                Robinson Law Office, PLLC
                                                                695 Central Ave Ste 1501
                                                                St. Petersburg, FL 33701−3669
                                                                813−613−2400
                                                                Fax: 727−362−1979
                                                                Email: arobinson@arobinsonlawfirm.com
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
VPC3 II, LLP                                     represented by Alice Ruth Huneycutt
a Florida Limited Liability                                     Stearns, Weaver, Miller, Weissler, Alhadeff
TERMINATED: 04/07/2021                                          & Sitterson, PA
                                                                401 E Jackson St − Ste 2200
                                                                PO Box 3299
                                                                Tampa, FL 33601−3299
                                                                813/222−5031
                                                                Fax: 813/222−5089
                                                                Email: ahuneycutt@stearnsweaver.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
N.E. Apartments Associates, Inc.                 represented by Alice Ruth Huneycutt
a Florida Corporation                                           (See above for address)
TERMINATED: 04/07/2021                                          LEAD ATTORNEY

                                                                                                              1
Defendant
Judge Jack Day                                    represented by Eugenia Alexandra Izmaylova
In his official capacity for declatory                           Florida Attorney General's Office
judgment only                                                    Civil Litigation − Tampa Bureau
                                                                 Concourse Center IV
                                                                 3507 E. Frontage Road, Suite 150
                                                                 Tampa, FL 33607
                                                                 813−233−2880
                                                                 Fax: 813−233−2886
                                                                 Email: Eugenia.Izmaylova@myfloridalegal.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED


 Date Filed       #   Page Docket Text
 02/03/2020       1          COMPLAINT against N.E. Apartments Associates, Inc., VPC3 II, LLP with
                             Jury Demand (Filing fee $ 400 receipt number 113A−16431815) filed by
                             Thomas J. Nestor. (Attachments: # 1 Proposed Summons, # 2 Proposed
                             Summons, # 3 Civil Cover Sheet)(Robinson, Amber) (Entered: 02/03/2020)
 02/04/2020       2          NEW CASE ASSIGNED to Judge Charlene Edwards Honeywell and
                             Magistrate Judge Thomas G. Wilson. New case number:
                             8:20−cv−265−T−36TGW. (SJB) (Entered: 02/04/2020)
 02/04/2020       3          RELATED CASE ORDER AND NOTICE of designation under Local Rule
                             3.05 − track 2. Notice of pendency of other actions due by 2/18/2020. Signed
                             by Judge Charlene Edwards Honeywell on 2/4/2020. (BGS) (Entered:
                             02/04/2020)
 02/04/2020       4          INTERESTED PERSONS ORDER. Certificate of interested persons and
                             corporate disclosure statement due by 2/18/2020. Signed by Judge
                             Charlene Edwards Honeywell on 2/4/2020. (BGS) (Entered: 02/04/2020)
 02/04/2020       5          SUMMONS issued as to N.E. Apartments Associates, Inc., VPC3 II, LLP.
                             (TDC) Modified on 2/4/2020 (TDC). (Entered: 02/04/2020)
 06/02/2020       6          AMENDED COMPLAINT against N.E. Apartments Associates, Inc., VPC3 II,
                             LLP, Jack Day with Jury Demand. filed by Thomas J. Nestor.(Robinson,
                             Amber) (Entered: 06/02/2020)
 07/15/2020       7          PROPOSED summons to be issued by Thomas J. Nestor. (Robinson, Amber)
                             (Entered: 07/15/2020)
 07/15/2020       8          PROPOSED summons to be issued by Thomas J. Nestor. (Robinson, Amber)
                             (Entered: 07/15/2020)
 07/15/2020       9          PROPOSED summons to be issued by Thomas J. Nestor. (Robinson, Amber)
                             (Entered: 07/15/2020)
 07/16/2020      10          SUMMONS issued as to Jack Day, N.E. Apartments Associates, Inc., VPC3 II,
                             LLP. (DG) (Entered: 07/16/2020)
 08/31/2020      11          ORDERED: Plaintiff's Amended Complaint 6 is DISMISSED without
                             prejudice as a shotgun pleading. Plaintiff is granted leave to file a second


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                  amended complaint within 14 days from the date of this Order, which must
                  correct the deficiencies discussed herein. Second Amended Complaint due
                  by 9/14/2020. Failure to file a second amended complaint within the time
                  provided will result in dismissal of this action without further notice.
                  Signed by Judge Charlene Edwards Honeywell on 8/31/2020. (JDE)
                  (Entered: 08/31/2020)
09/14/2020   12   AMENDED COMPLAINT against Thomas J. Nestor with Jury Demand. filed
                  by Thomas J. Nestor.(Robinson, Amber) (Entered: 09/14/2020)
12/11/2020   13   ORDER TO SHOW CAUSE. Plaintiff shall SHOW CAUSE within
                  fourteen (14) days from the date of this Order why the Complaint against
                  the Defendant(s) should not be dismissed for failure to comply with Federal
                  Rule of Civil Procedure 4(m). Failure to respond to this Order may result
                  in dismissal of this case without further notice from the Court. Signed by
                  Judge Charlene Edwards Honeywell on 12/11/2020. (BGS) (Entered:
                  12/11/2020)
12/28/2020   14   RESPONSE TO ORDER TO SHOW CAUSE re 13 Order to show cause filed
                  by Thomas J. Nestor. (Attachments: # 1 Exhibit service of process status, # 2
                  Exhibit service of process status, # 3 Exhibit service of process
                  status)(Strzalkowski, Ralph) (Entered: 12/28/2020)
12/29/2020   15   ENDORSED ORDER granting 14 Plaintiff's construed motion for
                  extension of time to effect service. Plaintiff is granted 30 days from the date
                  of this Order in which to serve defendants, failing which the case will be
                  dismissed without prejudice for nonservice. Signed by Judge Charlene
                  Edwards Honeywell on 12/29/2020. (JDE) (Entered: 12/29/2020)
01/28/2021   16   RETURN of service executed on 1−15−21 by Thomas J. Nestor as to Jack Day.
                  (Robinson, Amber) (Entered: 01/28/2021)
01/28/2021   17   RETURN of service executed on 1−20−21 by Thomas J. Nestor as to N.E.
                  Apartments Associates, Inc. (Robinson, Amber) Modified text on 1/29/2021
                  (MCB). (Entered: 01/28/2021)
01/29/2021   18   NOTICE of Appearance by Eugenia Alexandra Izmaylova on behalf of Jack
                  Day (Izmaylova, Eugenia) (Entered: 01/29/2021)
01/29/2021   19   MOTION to Dismiss Second Amended Complaint [Doc 12] by Jack Day.
                  (Izmaylova, Eugenia) (Entered: 01/29/2021)
01/29/2021   20   RETURN of service executed on 1/27/20 by Thomas J. Nestor as to VPC3 II,
                  LLP. (Strzalkowski, Ralph) (Entered: 01/29/2021)
02/01/2021   21   Unopposed MOTION to Seal Home Address of Judge Jack Day by Jack Day.
                  (Izmaylova, Eugenia) (Entered: 02/01/2021)
02/01/2021   22   Unopposed MOTION to Seal Home Address of Judge Jack Day by Jack Day.
                  (Izmaylova, Eugenia) (Entered: 02/01/2021)
02/02/2021   23   NOTICE of Change in Local Rules. (BGS) (Entered: 02/02/2021)
02/02/2021   24   NOTICE to Counsel of Local Rule 3.02(a)(2), which requires the parties in
                  every civil proceeding, except those described in subsection (d), to file a case
                  management report (CMR) using the uniform form at www.flmd.uscourts.gov.


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                  The CMR must be filed (1) within forty days after any defendant appears in an
                  action originating in this court, (2) within forty days after the docketing of an
                  action removed or transferred to this court, or (3) within seventy days after
                  service on the United States attorney in an action against the United States, its
                  agencies or employees. Judges may have a special CMR form for certain types
                  of cases listed in Rule 3.02(d). These forms can be found at
                  www.flmd.uscourts.gov under the Forms tab for each judge. (Signed by Deputy
                  Clerk). (BGS) (Entered: 02/02/2021)
02/02/2021   25   ORDERED: Defendants Motion to Seal 22 is granted. The Clerk is
                  directed to seal the return of service at Doc. 16, as it contains personal
                  information that should not be made public. Defendant's Motion to Seal 21
                  is denied as moot. Signed by Judge Charlene Edwards Honeywell on
                  2/2/2021. (JDE) (Entered: 02/02/2021)
02/02/2021   26   STANDING ORDER regarding discovery motions. Signed by Magistrate
                  Judge Thomas G. Wilson on 2/1/2021. (DMS) (Entered: 02/02/2021)
02/10/2021   27   Unopposed MOTION for Extension of Time to File Answer to Amended
                  Complaint by N.E. Apartments Associates, Inc., VPC3 II, LLP. (Huneycutt,
                  Alice) Motions referred to Magistrate Judge Thomas G. Wilson. Modified text
                  and event on 2/10/2021 (MCB). (Entered: 02/10/2021)
02/12/2021   28   CORPORATE Disclosure Statement by N.E. Apartments Associates, Inc.,
                  VPC3 II, LLP. (Huneycutt, Alice) (Entered: 02/12/2021)
02/12/2021   29   ORDER granting 27 Motion for Extension of Time to Answer. N.E.
                  Apartments Associates, Inc. answer or response due 2/24/2021; VPC3 II,
                  LLP answer or response due 2/24/2021. Signed by Magistrate Judge
                  Thomas G. Wilson on 2/12/2021. (Wilson, Thomas) (Entered: 02/12/2021)
02/12/2021   30   MOTION for Extension of Time to File Response/Reply as to 19 MOTION to
                  Dismiss Second Amended Complaint [Doc 12] by Thomas J. Nestor.
                  (Robinson, Amber) Motions referred to Magistrate Judge Thomas G. Wilson.
                  (Entered: 02/12/2021)
02/16/2021   31   ORDER granting 30 Motion for Extension of Time until February 26,
                  2021, to File Response. Signed by Magistrate Judge Thomas G. Wilson on
                  2/16/2021. (Wilson, Thomas) (Entered: 02/16/2021)
02/24/2021   32   NOTICE to the Courts to take judicial notice regarding Defendants' Motion to
                  Dismiss [Second] Amended Complaint (DOC. 12) by N.E. Apartments
                  Associates, Inc., VPC3 II, LLP. (Attachments: # 1 Exhibit Attachment 1, # 2
                  Exhibit Attachment 2, # 3 Exhibit Attachment 3, # 4 Exhibit Attachment 4, # 5
                  Exhibit Attachment 5, # 6 Exhibit Attachment 6, # 7 Exhibit Attachment 7, # 8
                  Exhibit Attachment 8, # 9 Exhibit Attachment 9, # 10 Exhibit Attachment 10, #
                  11 Exhibit Attachment 11, # 12 Exhibit Attachment 12, # 13 Exhibit
                  Attachment 13, # 14 Exhibit Attachment 14, # 15 Exhibit Attachment 15, # 16
                  Exhibit Attachment 16, # 17 Exhibit Attachment 17, # 18 Exhibit Attachment
                  18, # 19 Exhibit Attachment 19, # 20 Exhibit Attachment 20, # 21 Exhibit
                  Attachment 20a, # 22 Exhibit Attachment 20b, # 23 Exhibit Attachment 21, #
                  24 Exhibit Attachment 22, # 25 Exhibit Attachment 23, # 26 Exhibit
                  Attachment 24, # 27 Exhibit Attachment 25, # 28 Exhibit Attachment 26, # 29
                  Exhibit Attachment 27, # 30 Exhibit Attachment 28, # 31 Exhibit Attachment
                  29, # 32 Exhibit Attachment 30, # 33 Exhibit Attachment 31, # 34 Exhibit

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                  Attachment 32, # 35 Exhibit Attachment 33, # 36 Exhibit Attachment 34, # 37
                  Exhibit Attachment 35, # 38 Exhibit Attachment 36, # 39 Exhibit Attachment
                  37, # 40 Exhibit Attachment 38, # 41 Exhibit Attachment 39, # 42 Exhibit
                  Attachment 40, # 43 Exhibit Attachment 41)(Huneycutt, Alice) (Entered:
                  02/24/2021)
02/24/2021   33   MOTION to Dismiss 12 Second Amended Complaint by N.E. Apartments
                  Associates, Inc., VPC3 II, LLP. (Attachments: # 1 Exhibit Purchase and Sale
                  Agreement, # 2 Exhibit Addendum, # 3 Exhibit Settlement Agreement and
                  Mutual Release)(Huneycutt, Alice) Modified text on 2/25/2021 (MCB).
                  (Entered: 02/24/2021)
02/26/2021   34   SUPPLEMENT re 33 MOTION to Dismiss Second Amended Complaint (Doc.
                  12) , 12 Amended Complaint by N.E. Apartments Associates, Inc., VPC3 II,
                  LLP. (Huneycutt, Alice) Modified text on 3/1/2021 (MCB). (Entered:
                  02/26/2021)
02/26/2021   35   RESPONSE in Opposition re 19 MOTION to Dismiss Second Amended
                  Complaint [Doc 12] filed by Thomas J. Nestor. (Robinson, Amber) (Entered:
                  02/26/2021)
03/01/2021   36   SUPPLEMENT to Local Rule 3.01(g) Certification for Defendants Request for
                  Judicial Notice 32 by N.E. Apartments Associates, Inc., VPC3 II, LLP.
                  (Huneycutt, Alice) Modified text on 3/2/2021 (MCB). (Entered: 03/01/2021)
03/16/2021   37   Unopposed MOTION for Extension of Time to File Response/Reply as to 33
                  MOTION to Dismiss Second Amended Complaint (Doc. 12) by Thomas J.
                  Nestor. (Strzalkowski, Ralph) Motions referred to Magistrate Judge Thomas G.
                  Wilson. (Entered: 03/16/2021)
03/19/2021   38   ORDER granting 37 Motion for Extension of Time until March 31, 2021,
                  to File Response. Signed by Magistrate Judge Thomas G. Wilson on
                  3/19/2021. (Wilson, Thomas) (Entered: 03/19/2021)
04/01/2021   39   MOTION to Dismiss Claims against VPC3 and NE Apartments or in the
                  alternative, to Dismiss Parties VPC3 II LLP and NE Apartments Associates Inc.
                  by Thomas J. Nestor. (Robinson, Amber) (Entered: 04/01/2021)
04/05/2021   40   Amended MOTION to Dismiss Claims against VPC3 and NE Apartments by
                  Thomas J. Nestor. (Robinson, Amber) (Entered: 04/05/2021)
04/06/2021   41   ORDERED: Plaintiff's Unopposed Motion for Dismissal of Claims against
                  VPC3 II, LLP and N.E. Apartments Associates, Inc. or in the alternative
                  Motion to Dismiss Parties 39 is DENIED as moot. Plaintiff's Unopposed
                  Amended Motion for Dismissal of Claims against VPC3 II, LLP and N.E.
                  Apartments Associates, Inc. 40 is GRANTED. Plaintiff's claims against
                  VPC3 II, LLP and N.E. Apartments Associates, Inc. are DISMISSED with
                  prejudice. The Clerk is directed to terminate VPC3 II, LLP and N.E.
                  Apartments Associates, Inc. as parties to this action and update the docket
                  accordingly. Defendants VPC3 II, LLP and N.E. Apartments Associates,
                  Inc.'s Motion to Dismiss [Second] Amended Complaint 33 is DENIED as
                  moot. Signed by Judge Charlene Edwards Honeywell on 4/6/2021. (JDE)
                  (Entered: 04/06/2021)
04/20/2021   42


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                  MOTION for Attorney Fees And Incorporated Memorandum In Support by
                  N.E. Apartments Associates, Inc., VPC3 II, LLP. (Attachments: # 1 Exhibit
                  A)(Huneycutt, Alice) Motions referred to Magistrate Judge Thomas G. Wilson.
                  (Entered: 04/20/2021)
05/05/2021   43   RESPONSE in Opposition re 42 MOTION for Attorney Fees And Incorporated
                  Memorandum In Support filed by Thomas J. Nestor. (Robinson, Amber)
                  (Entered: 05/05/2021)
06/03/2021   44   NOTICE of change of address by Eugenia Alexandra Izmaylova (Izmaylova,
                  Eugenia) (Entered: 06/03/2021)
08/16/2021   45   ORDERED: Defendant Judge Jack Day's Motion to Dismiss Second
                  Amended Complaint 19 is GRANTED. The Court lacks subject−matter
                  jurisdiction to review and reject Judge Day's state−court judgment under
                  Rooker−Feldman as to Plaintiff's constitutional claims in Counts I, II, and
                  IV. To the extent that Rooker−Feldman does not bar consideration of
                  Plaintiff's constitutional claims, Plaintiff's claims in Counts I, II, and IV
                  are dismissed, with prejudice, based on immunity. Plaintiff's Title II ADA
                  claim against Judge Day in Count VI is dismissed, with prejudice. The
                  Clerk is directed to close this case. Signed by Judge Charlene Edwards
                  Honeywell on 8/16/2021. (JDE) (Entered: 08/16/2021)
10/27/2021   46   NOTICE of hearing for oral argument on Motion for Attorney Fees (Doc. 42).
                  Motion Hearing set for 11/30/2021 at 02:30 PM in Tampa Courtroom 12 A
                  before Magistrate Judge Thomas G. Wilson. Belated submissions are
                  disfavored. Any materials submitted after 4:00 p.m. on the day before the
                  hearing will be disregarded.(KAJ) (Entered: 10/27/2021)
11/08/2021   47   Unopposed MOTION to Continue Hearing Scheduled November 30, 2021 by
                  Thomas J. Nestor. (Robinson, Amber) (Entered: 11/08/2021)
11/12/2021   48   ORDER granting 47 Plaintiff's Unopposed Motion to Continue Hearing on
                  Defendant's Motion for Attorney's Fees. Hearing to be rescheduled for
                  December 15, 2021, at 2:30 p.m. Signed by Magistrate Judge Thomas G.
                  Wilson on 11/10/2021. (DMS) (Entered: 11/12/2021)
11/12/2021   49   NOTICE OF RESCHEDULING HEARING: The hearing on 42 Defendant's
                  Motion for Attorney's Fees previously scheduled for 11/30/2021 is rescheduled.
                  New scheduling date and time: Motion Hearing set for 12/15/2021 at 02:30 PM
                  in Tampa Courtroom 12A before Magistrate Judge Thomas G. Wilson. (DMS)
                  (Entered: 11/12/2021)
12/12/2021   50   Unopposed MOTION for Ralph Strzalkowsk to Appear Telephonically by
                  Thomas J. Nestor. (Strzalkowski, Ralph) Modified text on 12/13/2021 (MCB).
                  (Entered: 12/12/2021)
12/13/2021   51   ORDER granting 50 Motion to Appear Telephonically. Signed by
                  Magistrate Judge Thomas G. Wilson on 12/13/2021. (Wilson, Thomas)
                  (Entered: 12/13/2021)
12/15/2021   52   Minute Entry. In−person proceedings held before Magistrate Judge Thomas G.
                  Wilson: MOTION HEARING held on 12/15/2021 re 42 MOTION for Attorney
                  Fees And Incorporated Memorandum In Support filed by N.E. Apartments
                  Associates, Inc., VPC3 II, LLP. (Digital) (DMS) (Entered: 12/15/2021)


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12/16/2021   53   ORDER in re 42 Defendants' Motion for Attorneys' Fees permitting the
                  plaintiff to provide, by December 30, 2021, evidence that the defendants
                  agreed not to file a motion for attorney's fees if the plaintiff dismissed his
                  claims against them. The defendants will have until January 10, 2022, to
                  respond. Signed by Magistrate Judge Thomas G. Wilson on 12/16/2021.
                  (DMS) (Entered: 12/16/2021)
12/30/2021   54   AFFIDAVIT of Ralph Strzalkowski and Amber Robinson re: 53 Order pdf by
                  Thomas J. Nestor. (Robinson, Amber) (Entered: 12/30/2021)
01/07/2022   55   TRANSCRIPT of motion hearing held on December 15, 2021 before Judge
                  Thomas G. Wilson. Transcriber David J. Collier, Telephone number (813)
                  301−5575. Transcript may be viewed at the court public terminal or purchased
                  through the Transcriber before the deadline for Release of Transcript
                  Restriction. After that date it may be obtained through PACER or purchased
                  through the Transcriber. Redaction Request due 1/28/2022 Redacted Transcript
                  Deadline set for 2/7/2022 Release of Transcript Restriction set for 4/7/2022.
                  (DJC) (Entered: 01/07/2022)
01/07/2022   56   NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have
                  seven (7) calendar days to file with the court a Notice of Intent to Request
                  Redaction of this transcript. If no such Notice is filed, the transcript may be
                  made remotely electronically available to the public without redaction after 90
                  calendar days. Any party needing a copy of the transcript to review for
                  redaction purposes may purchase a copy from the court reporter or view the
                  document at the clerk's office public terminal. Court Reporter: David Collier.
                  (DJC) (Entered: 01/07/2022)
01/10/2022   57   AFFIDAVIT of Alice R. Huneycutt by N.E. Apartments Associates, Inc., VPC3
                  II, LLP. (Huneycutt, Alice) (Entered: 01/10/2022)
03/11/2022   58   ORDER granting only to the extent that the Defendants are the prevailing
                  parties and entitled to recover their reasonable attorneys' fees and costs re:
                  42 Motion for Attorney Fees. Signed by Magistrate Judge Thomas G.
                  Wilson on 3/11/2022. (ABC) (Entered: 03/11/2022)
04/11/2022   59   Verified MOTION for Attorney Fees by N.E. Apartments Associates, Inc.,
                  VPC3 II, LLP. (Huneycutt, Alice) Motions referred to Magistrate Judge
                  Thomas G. Wilson. (Entered: 04/11/2022)
05/11/2022   60   MOTION for Extension of Time to File Response/Reply as to 58 Order on
                  Motion for Attorney Fees, 59 Verified MOTION for Attorney Fees by Thomas
                  J. Nestor. (Robinson, Amber) Motions referred to Magistrate Judge Thomas G.
                  Wilson. (Entered: 05/11/2022)
05/12/2022   61   ORDER granting 60 Motion for Extension of Time to File Response /
                  Reply re 59 Verified MOTION for Attorney Fees Responses due by
                  5/25/2022. Signed by Magistrate Judge Thomas G. Wilson on 5/12/2022.
                  (ABC) (Entered: 05/12/2022)
05/25/2022   62   AFFIDAVIT of Kennan George Dandar re: 58 Order on Motion for Attorney
                  Fees, 59 Verified MOTION for Attorney Fees by Thomas J. Nestor. (Robinson,
                  Amber) (Entered: 05/25/2022)
06/15/2022   63


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                  REPLY to Response to Motion re 59 Verified MOTION for Attorney Fees filed
                  by N.E. Apartments Associates, Inc., VPC3 II, LLP. (Attachments: # 1 Exhibit
                  A − Settlement Offers from Thomas J. Nestor dated April 27, 2022)(Huneycutt,
                  Alice) (Entered: 06/15/2022)
12/29/2022   64   ORDER granting 59 Motion for Attorney Fees. Signed by Magistrate
                  Judge Thomas G. Wilson on 12/29/2022. (ABC) (Entered: 12/30/2022)
01/30/2023   65   NOTICE OF APPEAL as to 64 Order on Motion for Attorney Fees by Thomas
                  J. Nestor. Filing fee not paid. (Robinson, Amber) (Entered: 01/30/2023)




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 THOMAS NESTOR,
 Plaintiff,

 V.

 VPC3 II, LLP, N. E. APARTMENTS
 ASSOCIATES, INC. and JUDGE
 JACK DAY, in his official capacity,
 Defendants.
                                                             Case No. 8:20-cv-00265-T-36TGW

 _____________________________________/




                                     NOTICE OF APPEAL

        THOMAS NESTOR, through undersigned counsel for the limited purpose of filing this

 Notice on his behalf, hereby files this Notice of Appeal to the Eleventh Circuit Court of Appeal,

 regarding .the Order Granting Motion for Attorney Fees (Dkt 64).




 Dated: January 30, 2023




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 Respectfully submitted,

 F​LORIDA​​RIGHTS​​LAW​​FIRM
 /s/AMBER ROBINSON
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 Florida Bar No. 107215
 /s/ RALPH STRZALKOWSKI
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 Limited Counsel for pro se Appellant, Thomas Nestor




                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

 the parties on the service list.


 /s/ Amber Robinson




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